Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 1 of 178 Page ID #:8065




                         EXHIBIT J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 2 of 178 Page ID #:8066




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 3 of 178 Page ID #:8067




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 4 of 178 Page ID #:8068




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 5 of 178 Page ID #:8069
                 JUDGMENT DEBTOR EXAMINATION , MARCH 15, 2019

     1                  LOS ANGELES, CALIFORNIA , FRIDAY , MARCH 15, 2019

     2                                    11 : 19 A . M.

     3                                  EXAMINATION

     4         BY MR . STOLPER :

     5         Q.          MR. AVANATTI, DO YOU UNDERSTAND YOU ' RE UNDER

     6         OATH?

     7         A.          I'M SORRY, SIR?

     8         Q.          DO YOU UNDERSTAND YOU 'RE UNDER OATH?

     9         A.          YES .

    10         Q.          CAN YOU PLEASE STATE YOUR FULL NAME, PLEASE?

    11         A.          MICHAEL JOHN AVANATTI .

    12         Q.          WHAT IS YOUR CURRENT RESIDENTIAL ADDRESS?

    13         A.          10000 SANTA MONICA BOULEVARD, NUMBER 2107, L.A.,

    14          90067.

    15         Q.          DO YOU OWN , OR DO YOU RENT?

    16         A.          I RENT.

    17         Q.          WHAT IS THE NAME THAT THE LEASE IS HELD IN?

    18         A.          I THINK IT'S MY NAME, INDIVIDUAL.

    19         Q.          WHAT'S THE TERM OF YOUR LEASE?

    20         A.          I DON 'T REMEMBER .

    21         Q.          HOW LONG HAVE YOU LIVED THERE?

    22         A.          AT THAT ADDRESS, ABOUT -- I THINK THREE MONTHS.

    23         Q.          HOW LONG IN THAT BUILDING?

    24         A.          I'VE HAD A UNIT IN THAT BUILDING S I NCE MARCH OF

    25         2017 .

                 Huntington Court Reporters & Transcription, Inc .                  4
         600 S. Lake Avenue , Suite 102 , Pasadena, CA 91106 1 - 626 - 792 - 6777
                                       Exhibit J
                                                                          USAO 00059432
                                                                                 00059535
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 6 of 178 Page ID #:8070
                 JUDGMENT DEBTOR EXAMINATION , MARCH 15, 2019

     1         Q.         WHAT'S YOUR CURRENT RENT?

     2         A.         IT'S AROUND $11,000 A MONTH .

     3         Q.         ARE YOU CURRENT ON YOUR RENT?

     4         A.         I THINK SO .

     5         Q.         FROM WHAT BANK ACCOUNT DO YOU MAKE YOUR RENT

     6         PAYMENTS?

     7         A.         IT DEPENDS, BUT GENERALLY, FROM AN ACCOUNT AT

     8         CITY NATIONAL BANK.

     9         Q.         AND IS THAT A PERSONAL ACCOUNT, OR BUSINESS

    10         ACCOUNT?

    11         A.         I THINK IT'S A PERSONAL ACCOUNT .

    12         Q.         DO YOU HAVE ANY OTHER RESIDENTIAL ADDRESSES?

    13         A.         NO.

    14         Q.         WHAT IS YOUR CURRENT BUSINESS ADDRESS?

    15         A.         1904 SUNSET BOULEVARD, FOURTH FLOOR, L.A.,

    16         90026.

    17         Q.         AND ARE YOU PERSONALLY THE LEASEE ON THE SUNSET

    18         BOULEVARD PROPERTY?

    19         A.         NO.

    20         Q.         WHO IS?

    21         A.         THE LEASEE IS THE X- LAW GROUP.

    22         Q.         WHAT IS YOUR RELATIONSHIP WITH THE X-LAW GROUP?

    23         A.         I SUBLEASE SPACE FROM X-LAW GROUP.      WELL, I

    24         DON'T INDIVIDUALLY.

    25         Q.         WHO DOES?

                 Huntington Court Reporters & Transcription, Inc .                5
         600 S. Lake Avenue , Suite 102 , Pasadena, CA 91106 1 - 626 - 792 - 6777
                                    Exhibit J
                                                                         USAO 00059433
                                                                                  00059535
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 7 of 178 Page ID #:8071




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 8 of 178 Page ID #:8072




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 9 of 178 Page ID #:8073




                                    Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 10 of 178 Page ID
                                  #:8074




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 11 of 178 Page ID
                                  #:8075




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 12 of 178 Page ID
                                  #:8076




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 13 of 178 Page ID
                                  #:8077




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 14 of 178 Page ID
                                  #:8078




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 15 of 178 Page ID
                                  #:8079




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 16 of 178 Page ID
                                  #:8080




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 17 of 178 Page ID
                                  #:8081




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 18 of 178 Page ID
                                  #:8082




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 19 of 178 Page ID
                                  #:8083




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 20 of 178 Page ID
                                  #:8084




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 21 of 178 Page ID
                                  #:8085




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 22 of 178 Page ID
                                  #:8086




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 23 of 178 Page ID
                                  #:8087




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 24 of 178 Page ID
                                  #:8088




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 25 of 178 Page ID
                                  #:8089




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 26 of 178 Page ID
                                  #:8090




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 27 of 178 Page ID
                                  #:8091




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 28 of 178 Page ID
                                  #:8092




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 29 of 178 Page ID
                                  #:8093




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 30 of 178 Page ID
                                  #:8094




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 31 of 178 Page ID
                                  #:8095




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 32 of 178 Page ID
                                  #:8096




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 33 of 178 Page ID
                                  #:8097




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 34 of 178 Page ID
                                  #:8098




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 35 of 178 Page ID
                                  #:8099




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 36 of 178 Page ID
                                  #:8100




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 37 of 178 Page ID
                                  #:8101




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 38 of 178 Page ID
                                  #:8102




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 39 of 178 Page ID
                                  #:8103




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 40 of 178 Page ID
                                  #:8104




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 41 of 178 Page ID
                                  #:8105




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 42 of 178 Page ID
                                  #:8106




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 43 of 178 Page ID
                                  #:8107




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 44 of 178 Page ID
                                  #:8108




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 45 of 178 Page ID
                                  #:8109




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 46 of 178 Page ID
                                  #:8110




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 47 of 178 Page ID
                                  #:8111




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 48 of 178 Page ID
                                  #:8112




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 49 of 178 Page ID
                                  #:8113




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 50 of 178 Page ID
                                  #:8114




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 51 of 178 Page ID
                                  #:8115




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 52 of 178 Page ID
                                  #:8116




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 53 of 178 Page ID
                                  #:8117




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 54 of 178 Page ID
                                  #:8118




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 55 of 178 Page ID
                                  #:8119




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 56 of 178 Page ID
                                  #:8120




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 57 of 178 Page ID
                                  #:8121




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 58 of 178 Page ID
                                  #:8122




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 59 of 178 Page ID
                                  #:8123




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 60 of 178 Page ID
                                  #:8124




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 61 of 178 Page ID
                                  #:8125




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 62 of 178 Page ID
                                  #:8126




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 63 of 178 Page ID
                                  #:8127




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 64 of 178 Page ID
                                  #:8128




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 65 of 178 Page ID
                                  #:8129




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 66 of 178 Page ID
                                  #:8130




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 67 of 178 Page ID
                                  #:8131




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 68 of 178 Page ID
                                  #:8132




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 69 of 178 Page ID
                                  #:8133




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 70 of 178 Page ID
                                  #:8134




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 71 of 178 Page ID
                                  #:8135




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 72 of 178 Page ID
                                  #:8136




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 73 of 178 Page ID
                                  #:8137




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 74 of 178 Page ID
                                  #:8138




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 75 of 178 Page ID
                                  #:8139




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 76 of 178 Page ID
                                  #:8140




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 77 of 178 Page ID
                                  #:8141




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 78 of 178 Page ID
                                  #:8142




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 79 of 178 Page ID
                                  #:8143




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 80 of 178 Page ID
                                  #:8144




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 81 of 178 Page ID
                                  #:8145




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 82 of 178 Page ID
                                  #:8146




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 83 of 178 Page ID
                                  #:8147




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 84 of 178 Page ID
                                  #:8148




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 85 of 178 Page ID
                                  #:8149




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 86 of 178 Page ID
                                  #:8150




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 87 of 178 Page ID
                                  #:8151




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 88 of 178 Page ID
                                  #:8152




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 89 of 178 Page ID
                                  #:8153




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 90 of 178 Page ID
                                  #:8154




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 91 of 178 Page ID
                                  #:8155




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 92 of 178 Page ID
                                  #:8156




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 93 of 178 Page ID
                                  #:8157




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 94 of 178 Page ID
                                  #:8158




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 95 of 178 Page ID
                                  #:8159




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 96 of 178 Page ID
                                  #:8160




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 97 of 178 Page ID
                                  #:8161




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 98 of 178 Page ID
                                  #:8162




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 99 of 178 Page ID
                                  #:8163




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 100 of 178 Page ID
                                   #:8164




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 101 of 178 Page ID
                                   #:8165




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 102 of 178 Page ID
                                   #:8166




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 103 of 178 Page ID
                                   #:8167




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 104 of 178 Page ID
                                   #:8168




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 105 of 178 Page ID
                                   #:8169




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 106 of 178 Page ID
                                   #:8170




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 107 of 178 Page ID
                                   #:8171




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 108 of 178 Page ID
                                   #:8172




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 109 of 178 Page ID
                                   #:8173




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 110 of 178 Page ID
                                   #:8174




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 111 of 178 Page ID
                                   #:8175




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 112 of 178 Page ID
                                   #:8176




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 113 of 178 Page ID
                                   #:8177




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 114 of 178 Page ID
                                   #:8178




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 115 of 178 Page ID
                                   #:8179




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 116 of 178 Page ID
                                   #:8180




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 117 of 178 Page ID
                                   #:8181




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 118 of 178 Page ID
                                   #:8182




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 119 of 178 Page ID
                                   #:8183




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 120 of 178 Page ID
                                   #:8184




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 121 of 178 Page ID
                                   #:8185




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 122 of 178 Page ID
                                   #:8186




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 123 of 178 Page ID
                                   #:8187




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 124 of 178 Page ID
                                   #:8188




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 125 of 178 Page ID
                                   #:8189




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 126 of 178 Page ID
                                   #:8190




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 127 of 178 Page ID
                                   #:8191




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 128 of 178 Page ID
                                   #:8192




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 129 of 178 Page ID
                                   #:8193




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 130 of 178 Page ID
                                   #:8194




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 131 of 178 Page ID
                                   #:8195




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 132 of 178 Page ID
                                   #:8196




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 133 of 178 Page ID
                                   #:8197




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 134 of 178 Page ID
                                   #:8198




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 135 of 178 Page ID
                                   #:8199




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 136 of 178 Page ID
                                   #:8200




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 137 of 178 Page ID
                                   #:8201




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 138 of 178 Page ID
                                   #:8202




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 139 of 178 Page ID
                                   #:8203




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 140 of 178 Page ID
                                   #:8204




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 141 of 178 Page ID
                                   #:8205




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 142 of 178 Page ID
                                   #:8206




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 143 of 178 Page ID
                                   #:8207




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 144 of 178 Page ID
                                   #:8208




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 145 of 178 Page ID
                                   #:8209




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 146 of 178 Page ID
                                   #:8210




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 147 of 178 Page ID
                                   #:8211




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 148 of 178 Page ID
                                   #:8212




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 149 of 178 Page ID
                                   #:8213




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 150 of 178 Page ID
                                   #:8214




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 151 of 178 Page ID
                                   #:8215




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 152 of 178 Page ID
                                   #:8216




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 153 of 178 Page ID
                                   #:8217




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 154 of 178 Page ID
                                   #:8218




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 155 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8219         MARCH 15, 2019

  1      ROASTING $150,000 WORTH OF COFFEE IN THE LATE FALL UP TO

  2      THE SPRING -- LATE FALL 2017 THROUGH THE SPRING OF 2018?

  3                 MR. HODGES:    ASSUMES FACTS.     LACKS FOUNDATION.

  4                 THE WITNESS:       I DISAGREE WITH THE PREDICATE OF

  5      THE QUESTION, NAMELY, THAT PAYMENTS THAT WERE MADE, NUMBER

  6      ONE; NUMBER TWO, THAT IT WAS IN FURTHERANCE OF ROASTING

  7      COFFEE.    I DON'T HAVE ANY IDEA WHAT THE PAYMENTS WERE FOR.

  8     AND WITH ALL DUE RESPECT I'M NOT GOING TO TAKE YOUR WORD

  9      FOR IT SO I CAN'T ANSWER IT.

 10      BY MR. STOLPER:

 11           Q     WAS AVENATTI   &   ASSOCIATES -- SORRY, GALLO

 12      BUILDERS   WAS THE COMPANY THAT BUILT YOUR RESIDENCE ON 106

 13      MCKNIGHT; IS THAT CORRECT?

 14           A     THEY DID CONTRACTOR WORK AT THAT RESIDENCE.

 15           Q     THAT'S YOUR PERSONAL -- THAT WAS A PERSONAL

 16      RESIDENCE; CORRECT?

 17           A     YES.

 18           Q     AND AVENATTI   &   ASSOCIATES MADE PAYMENTS TO BUILD

 19      YOUR PERSONAL RESIDENCE THROUGH -- FROM 2014, 2015, ALL

 20      THE WAY THROUGH THE END OF 2015; IS THAT CORRECT?

 21           A     SO WHAT --

 22                 MR. HODGES:    LACKS FOUNDATION.

 23                 THE WITNESS:    SO WHAT?    WHO CARES?

 24      BY MR. STOLPER:

 25           Q     SO JUST TO BE CLEAR, YOUR TESTIMONY IS NOT THAT

              Huntington Court Reporters & Transcription, Inc.         154
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                Exhibit J
                                                                USAO 00059248
                                                                         00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 156 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8220         MARCH 15, 2019

  1     AVENATTI   &    ASSOCIATES WAS ALSO IN THE CONSTRUCTION

  2      BUSINESS, THAT THE PERSONAL RESIDENCE -- THIS IS MONEY

  3      THAT IS PERSONAL THAT IS GOING TO YOU PERSONALLY; CORRECT?

  4                    MR. HODGES:     ARGUMENTATIVE.

  5                    THE WITNESS:     NO.     IT'S NOT GOING TO ME

  6      PERSONALLY.      YOU UNDERCUT YOUR ENTIRE QUESTION.             NO.

  7      BY MR. STOLPER:

  8           Q        WAS PAYMENT OF GALLO BUILDERS TO BUILD YOUR

  9      PERSONAL RESIDENCE           WOULD IT BE FAIR TO CHARACTERIZE

 10      THAT AS A PERSONAL EXPENSE AS OPPOSED TO A CORPORATE

 11      EXPENSE OF AVENATTI & ASSOCIATES?

 12           A        SURE.

 13           Q        IT WAS YOUR PERSONAL EXPENSE; CORRECT?

 14           A        SURE.

 15           Q        LIKEWISE, THE PAYMENTS THAT AVENATTI          &


 16     ASSOCIATES MADE TO GARY E. PRIMM THROUGH 2016, THAT WAS

 17      FOR PAYMENT ON YOUR PERSONAL RESIDENCE; CORRECT?

 18           A        I THINK SO.

 19           Q        AND, AGAIN, JUST TO BE CLEAR, THOSE PAYMENTS

 20     MADE BY AVENATTI       &   ASSOCIATES WERE NOT BUSINESS PAYMENTS,

 21      THEY WERE PAID -- THEY WERE PERSONAL OBLIGATIONS THAT YOU

 22     HAD THAT YOUR COMPANY WAS PAYING ON YOUR BEHALF; CORRECT?

 23                    MR. HODGES:     ASSUMES FACTS.

 24                    THE WITNESS:     YEAH.     I DON'T NECESSARILY AGREE

 25     WITH THAT.

             Huntington Court Reporters           &   Transcription, Inc.           155
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                      Exhibit J
                                                                               USAO 00059249
                                                                                      00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 157 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8221         MARCH 15, 2019

  1      BY MR. STOLPER:

  2           Q        YOU DON'T AGREE THAT AVENATTI   &   ASSOCIATES WAS

  3      MAKING PAYMENTS TO GARY PRIMM, OR YOU DON'T AGREE WITH THE

  4      IDEA THAT SUCH PAYMENTS WERE PERSONAL EXPENSES AS OPPOSED

  5      TO LEGITIMATE CORPORATE EXPENSES OF AVENATTI          &   ASSOCIATES?

  6           A        I DON'T KNOW IF ANY PAYMENTS WERE MADE FROM

  7     AVENATTI   &    ASSOCIATES TO GARY PRIMM OR NOT .      AS I SIT HERE

  8      RIGHT NOW,     I DON'T KNOW.    IT COULD HAVE BEEN.       IT COULD

  9      NOT HAVE BEEN.       I DON'T KNOW.

 10           Q        GARY PRIMM WAS YOUR LANDLORD ON THE LIDO ISLE

 11      PROPERTY; CORRECT?

 12           A        YES.   BUT THAT DOESN'T SHED ANY LIGHT ON WHAT I

 13      JUST SAID.

 14           Q        I UNDERSTAND.

 15                    TO THE EXTENT PAYMENTS ARE BEING MADE BY

 16     AVENATTI   &    ASSOCIATES TO GARY PRIMM ON A MONTHLY BASIS FOR

 17      $100,000 A MONTH THAT IS TO PAY FOR YOUR PERSONAL

 18      RESIDENCE; CORRECT?

 19           A        I WOULD HAVE TO SEE THE PAYMENT.

 20           Q        SO HOW MUCH WAS YOUR -- HOW MUCH WERE THE

 21      PAYMENTS THAT YOU WERE OBLIGATED TO MAKE TO MR. PRIMM FOR

 22      YOUR PERSONAL RESIDENCE DURING 2016?

 23           A        I DON'T RECALL.

 24           Q        ISN'T IT TRUE IT WAS APPROXIMATELY $100,000 A

 25      MONTH?

              Huntington Court Reporters & Transcription, Inc.         156
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                Exhibit J
                                                                USAO 00059250
                                                                         00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 158 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8222         MARCH 15, 2019

  1           A       SIR, I DON'T RECALL.         IT MAY HAVE BEEN LESS THAN

  2      THAT; IT MAY HAVE BEEN MORE THAN THAT.            IN FACT, IT WAS

  3     MODIFIED OVER TIME OR IT CHANGED OVER TIME, AND I DON'T

  4      RECALL EXACTLY WHEN.

  5           Q       BUT YOU WOULD AGREE THERE WAS A STRING OF

  6      PAYMENTS THAT YOU WERE MAKING TO GARY PRIMM TO PAY FOR

  7     YOUR PERSONAL RESIDENCE?

  8           A       I WOULDN'T AGREE OR DISAGREE WITH THAT.

  9           Q       ISN'T THAT TRUE?

 10           A       SIR, I WOULDN'T AGREE OR DISAGREE WITH THAT.

 11           Q       YOU WEREN'T PAYING MR. PRIMM MONEY FOR YOUR

 12      PERSONAL RESIDENCE REGARDLESS OF SOURCE?

 13           A       NO.   THERE WAS A POINT IN TIME WHERE HE WAS

 14      BEING PAID IN CONNECTION WITH THE PERSONAL RESIDENCE.               I

 15     DON'T KNOW WHERE THAT MONEY CAME FROM.

 16           Q       CAN YOU THINK OF ANY ONLY REASON YOU WOULD BE

 17      PAYING MR. PRIMM ON A MONTHLY BASIS OTHER THAN TO OR FOR A

 18      PERSONAL REFERENCE?

 19           A       SIR, I THINK I JUST SAID THAT THERE WERE

 20      PAYMENTS BEING MADE TO MR. PRIMM.            I BELIEVE THEY TO BE ON

 21     A MONTHLY BASIS, ALTHOUGH THAT CHANGED OVER TIME.                I DON'T

 22      RECALL THE AMOUNT, AND I DON'T RECALL WHERE THE PAYMENTS

 23      CAME FROM.

 24           Q       THAT'S NOT MY QUESTION.        MY QUESTION IS, IS

 25      THERE SOME OTHER REASON THERE WOULD BE A STREAM OF

             Huntington Court Reporters        &   Transcription, Inc.             157
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                   Exhibit J
                                                                          USAO 00059251
                                                                                 00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 159 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8223         MARCH 15, 2019

  1      PAYMENTS FROM ANY ACCOUNT OF YOURS TO MR. PRIMM OTHER THAN

  2      TO PAY FOR A PERSONAL RESIDENCE?

  3           A        NO.

  4           Q        GB AUTOSPORT IS AN ENTITY THAT WAS ASSOCIATED

  5     WITH YOUR RACE CAR ACTIVITIES; CORRECT?

  6                    MR. HODGES:     ASKED AND ANSWERED FIVE OR SIX

  7      TIMES NOW.

  8                    THE WITNESS:     COVERED THIS.

  9      BY MR. STOLPER:

 10           Q        AND THE PAYMENTS THAT WERE BEING MADE FROM

 11     AVENATTI   &    ASSOCIATES TO GB AUTOPORT WERE IN FURTHERANCE

 12      OF THAT RACE CAR HOBBY; CORRECT?

 13           A        I HAVE ANSWERED THIS.

 14           Q        HAVEN'T ASKED YOU ABOUT GB AUTOSPORT --

 15           A        YES, YOU DID.     YOU COVERED THE ENTIRE ISSUE OF

 16     MY RACING AND HOW THE PAYMENTS WERE MADE AND WHAT THEY

 17     WERE IN FURTHERANCE OF AND WHY DID AVENATTI               &   ASSOCIATES

 18      PAY FOR RACING AND THE LIST GOES ON AND ON.

 19                    MR. HODGES:     HE ALSO ADDED --

 20      BY MR. STOLPER:

 21           Q        TO THE EXTENT THERE ARE PAYMENTS FROM AVENATTI              &


 22     ASSOCIATES TO GB AUTOSPORT, IS THAT IN FURTHERANCE OF RACE

 23      CAR DRIVING?

 24                    MR. HODGES:     LACKS FOUNDATION THAT THERE EVER

 25     WERE --

             Huntington Court Reporters           &   Transcription, Inc.              158
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                      Exhibit J
                                                                             USAO 00059252
                                                                                    00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 160 of 178 Page ID
                                   #:8224




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 161 of 178 Page ID
                                   #:8225




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 162 of 178 Page ID
                                   #:8226




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 163 of 178 Page ID
                                   #:8227




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 164 of 178 Page ID
                                   #:8228




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 165 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8229         MARCH 15, 2019

  1      LAWYER?

  2           A    I HAVE HAD MEETINGS THERE.

  3           Q    HAVE YOU EVER HAD MEETINGS THERE WITH EMPLOYEES

  4      OF AVENATTI   &   ASSOCIATES?

  5           A    I DON'T REMEMBER .

  6           Q    ARE YOU AN EMPLOYEE OF AVENATTI            &   ASSOCIATES?

  7           A    RIGHT NOW?

  8           Q    EVER.

  9           A    I DON'T KNOW.         I DON'T RECALL IF I            IF I WAS

 10      TECHNICALLY AN EMPLOYEE.         I THINK THAT I WAS AT SOME

 11      PERIOD OF TIME.      I AM NOT AN EMPLOYEE NOW.

 12           Q    WHAT IS JEWELERS ON TIME?

 13           A    A JEWELRY STORE.

 14           Q    IT'S IN NEWPORT BEACH?

 15           A    YES.

 16           Q    TO THE EXTENT AVENATTI          &   ASSOCIATES SPENT MONEY

 17     AT A JEWELRY STORE WAS THAT PART OF AVENATTI               &   ASSOCIATES'

 18      BUSINESS OR IS THAT A PERSONAL EXPENSE OF YOURS?

 19                MR. HODGES:      ASSUMES FACTS.         LACKS FOUNDATION

 20      THAT ANY SUCH

 21                THE WITNESS:      WOULD BE A PERSONAL EXPENSE, MOST

 22      LIKELY, BUT I WOULD HAVE TO LOOK

 23      BY MR. STOLPER:

 24           Q    WAS JEWELERS ON TIME EVER A CLIENT OF AVENATTI                  &


 25     ASSOCIATES?

             Huntington Court Reporters        &   Transcription, Inc.                 164
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                   Exhibit J
                                                                             USAO 00059258
                                                                                    00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 166 of 178 Page ID
                                   #:8230




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 167 of 178 Page ID
                                   #:8231




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 168 of 178 Page ID
                                   #:8232




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 169 of 178 Page ID
                                   #:8233




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 170 of 178 Page ID
               JUDGMENT DEBTOR EXAMINATION,
                                   #:8234         MARCH 15, 2019

  1      BY MR. STOLPER:

  2              Q   MR. AVENATTI, WERE YOU THE MANAGER OF PASSPORT

  3      420?

  4              A   YES.

  5              Q   DID -- AS A MANAGER OF PASSPORT 420, DID STORMY

  6      DANIELS EVER OWE PASSPORT 420 MONEY?

  7              A   YES.

  8              Q   HOW MUCH DID MS. DANIELS OWE PASSPORT 420?

  9              A   I DON'T RECALL .

 10              Q   WHAT WAS IT FOR?

 11              A   FOR USE OF THE PLANE AND TRAVEL EXPENSES

 12     ASSOCIATED WITH HER CASE .

 13              Q   MR. AVENATTI, YOU CURRENTLY CARRY AN IPHONE?

 14              A   YES.

 15              Q   WHO OWNS THAT IPHONE?

 16              A   AVENATTI   &   ASSOCIATES.

 17              Q   AND YOU ARE THE OWNER OF AVENATTI      &   ASSOCIATES?

 18              A   YES .

 19              Q   OKAY.

 20                  MR. STOLPER:      I THINK THAT'S ALL WE HAVE FOR

 21      TODAY BECAUSE WE HAVE MOTIONS TO DEAL WITH AT -- WITH THE

 22      JUDGE.

 23                  MR. HODGES:      DO YOU MIND IF I USE THE MEN'S

 24      ROOM?

 25                  (A RECESS WAS TAKEN FROM 2:44 P.M. TO

              Huntington Court Reporters & Transcription, Inc.         169
      600 S. Lake Avenue, Suite 102, Pasadena, CA 91106 1-626-792-6777
                                Exhibit J
                                                                       USAO 00059263
                                                                              00059274
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 171 of 178 Page ID
                                   #:8235




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 172 of 178 Page ID
                                   #:8236




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 173 of 178 Page ID
                                   #:8237




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 174 of 178 Page ID
                                   #:8238




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 175 of 178 Page ID
                                   #:8239




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 176 of 178 Page ID
                                   #:8240




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 177 of 178 Page ID
                                   #:8241




                                 Exhibit J
Case 8:19-cr-00061-JVS Document 474-11 Filed 05/31/21 Page 178 of 178 Page ID
                                   #:8242




                                 Exhibit J
